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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                  )
                                           )
              Plaintiff,                   )       ORDER (AMENDED)
                                           )
       vs.                                 )
                                           )
Toyea Darnell Funches,                     )       Case No. 1:17-cr-118
                                           )
              Defendant.                   )


       Before the court is a Motion to Continue Detention Hearing filed by defendant on June 8,

2017. For good cause shown, the court GRANTS the motion (Docket No. 50). Defendant’s

detention hearing shall be rescheduled for Friday, June 16, 2017, at 9:30 a.m. Defendant will be

appearing via video from Rugby. Counsel for defendant and the Government will be in Bismarck

(Courtroom #2). The undersigned shall conduct the hearing from Fargo (ADR).
       IT IS SO ORDERED.

       Dated this 8th day of June, 2017.
                                                   /s/ Charles S. Miller, Jr.

                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
